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8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11
12    UNITED STATES OF AMERICA,                  Case No.: CV 19-4245-DMG (SKx)
13                       Plaintiff,              FINAL ORDER AND JUDGMENT
                                                 PERMANENTLY ENJOINING
14                       v.                      KAREN MCCOY [3]
15    KAREN MCCOY,
16                       Defendant.
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18         Based on the parties’ Stipulation for Entry of Final Order and Judgment,
19         1.     Plaintiff, United States of America, commenced this civil action by filing
20   the United States’ “Complaint To Enjoin Defendant From (1) Preparing and Filing Tax
21   Returns, Or Aiding And Assisting In The Preparation and Filing Of Tax Returns, Or (2)
22   Representing Clients Before Internal Revenue Service.”
23         2.     Defendant, KAREN MCCOY, admits the allegations of the Complaint,
24   consents to entry of a Final Order and Judgment of permanent injunction without further
25   notice, waives the entry of findings of fact and conclusions of law, and waives any right
26   she may have to appeal.
27         3.     The Court has jurisdiction over this action pursuant to 26 U.S.C. §§ 7401,
28   7402(a), and 7407, and 28 U.S.C. §§ 1340 and 1345.

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1          NOW, THEREFORE, in accordance with the parties’ stipulation described above,
2    it is ORDERED, ADJUDGED and DECREED that
3          4.      KAREN MCCOY, is permanently enjoined from:
4               a. Preparing and filing federal income tax returns and federal payroll tax
5                  returns (acting as a tax return preparer within the meaning of Section
6                  7701(a)(36) of the Internal Revenue Code);
7               b. Taking any action in furtherance of aiding, assisting, advising, preparing,
8                  and filing for compensation tax returns of third-party taxpayers; or
9               c. Representing taxpayers before the Internal Revenue Service.
10         5.      KAREN MCCOY, is permitted to prepare and file federal tax returns for
11   herself and his legal spouse.
12         6.      This Court shall retain jurisdiction for the purpose of implementing and
13   enforcing the Final Order and Judgment.
14   IT IS SO ORDERED.
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16   DATED: May 24, 2019                     ________________________________
17                                           DOLLY M. GEE
                                             UNITED STATES DISTRICT JUDGE
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